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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
______________________________
                               )
AMERICAN IMMIGRATION          )
COUNCIL,                      )
                               )
                  Plaintiff,   )
                               )
                  v.           )  Civil Action No. 18-1531 (RCL)
                               )
U.S. IMMIGRATIONS &           )
CUSTOMS ENFORCEMENT           )
et al.,                        )
                               )
                  Defendants. )
_____________________________ )

                          DEFENDANTS’ NOTICE TO THE COURT

        By Order dated January 24, 2019, this Court ordered defendants to notify the Court within

fourteen days of Congress appropriating funds for the Department of Justice. Defendants hereby

notify the Court and Plaintiff that an appropriations act providing funding to the Department of

Justice (“DOJ”) for a three-week period of time was enacted on January 25, 2019, in the evening.

Consequently, DOJ attorneys, including the undersigned Assistant United States Attorney assigned

to this case, are now authorized by law to resume work on civil matters, including matters that are

not “emergencies involving the safety of human life or the protection of property.” 31 U.S.C. §

1342.

        Defendants also wish to update the Court and Plaintiff as to the current status of the case.

Defendants have completed their initial searches in this case. In light of the search terms used,

most of which were suggested by plaintiff, the number of potentially responsive pages or

documents returned has been staggering. In particular:

        (1)      With respect to defendant Department of Homeland Security (“DHS”), the final
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search produced 1.643.8 terabytes of data. This corresponds to approximately 1,618,157 items

(emails). Each email can be several pages long (at least) and could include many attachments. The

agency does not yet have page counts because the search results must first be fully uploaded to the

document review platform before a page count can be obtained. At this time, DHS does not have

the capabilities and the space to upload such a large amount of data onto its FOIA processing tool.

       (2)      With respect to defendant Customs and Border Protection (“CBP”), the searches

have been completed and CBP located approximately 76,058 potentially responsive records. These

records contain approximately 1,467,474 pages.

       (3)      With respect to defendant Immigration and Customs Enforcement (“ICE”), ICE has

completed its searches and has identified approximately, 3,305,200 pages of potentially responsive

information.

       Based on the foregoing, it is clear that the searches performed have returned an

unmanageable number of pages which, by the agencies’ estimates, would take well over a hundred

years to process. It seems most prudent for the parties now to discuss how to reduce the number of

pages to be processed and, after that occurs, prioritize the pages to be processed.

       Defendants suggests that the parties be allowed to engage in such discussions and to report

back to the Court March 29, 2019, on the progress of their discussions.

                                                      Respectfully submitted,

                                                      JESSIE K. LIU
                                                      D.C. Bar #472845
                                                      United States Attorney

                                                      DANIEL F. VAN HORN
                                                      D.C. Bar # 924092
                                                      Chief, Civil Division

                                                      /s/ Marina Utgoff Braswell
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                                                      D.C. Bar #416587
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